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                    IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

IN RE:                                                  :   CHAPTER 13
                                                        :
DILRUBA ISLAM                                           :   Bankruptcy No. 22-11061-elf
                                                        :
                                                 Debtor :

                        MOTION OF EXCEL FINANCIAL CORP.
             FOR RELIEF FROM THE AUTOMATIC STAY PURSUANT TO
   11 U.S.C. § 362(d) AND FEDERAL RULE OF BANKRUPTCY PROCEDURE 4001(a)

         Excel Financial Corp. (“Excel”), by and through its undersigned counsel, Friedman

Schuman, P.C., moves this Court for relief from the automatic stay under 11 U.S.C. § 362(a)

pursuant to 11 U.S.C. § 362(d) and Federal Rule of Bankruptcy Procedure 4001(a) (the

“Motion”), and in support thereof of avers as follows:

                                                  JURISDICTION

         1.        On April 26, 2022 (the “Petition Date”), Dilruba Islam (the “Debtor”) filed a

Voluntary Petition under Chapter 13 of Title 11 of the United States Code (the “Bankruptcy

Code”).

         2.        This contested matter arises under 11 U.S.C. § 362(d) and is a core proceeding

pursuant to 28 U.S.C. §157(b)(2)(G). This Bankruptcy Court has jurisdiction over this

proceeding pursuant to 28 U.S.C. §§157(a) and 1334. The statutory predicates for the relief

sought hereunder are §§105(a) and 362(d) of the Bankruptcy Code and Rule 4001(a) of the

Federal Rules of Bankruptcy Procedure.

                                                  BACKGROUND

         3.        On or about September 19, 2017, Excel entered into a loan transaction with the

Debtor and Ashraful Islam (“A. Islam”) pursuant to which Excel made a loan to the Debtor and

A. Islam in the principal amount of $160,000.00 (the “Loan”) in accordance with the terms and


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conditions of that certain Loan Agreement between the Debtor, A. Islam and Excel dated

September 19, 2017 (the “Loan Agreement”). A true and correct copy of the Loan Agreement is

attached hereto, incorporated herein and marked as Exhibit “A”.

         4.        The Loan is evidenced by that certain mortgage note dated September 19, 2017 in

the original principal amount of $160,000.00 from the Debtor and A. Islam (the “Note”),

evidencing the Debtor and A. Islam’s obligation to repay the Loan. A true and correct copy of

the Note is attached hereto, incorporated herein and marked as Exhibit “B”.

         5.        In order to secure the Debtor and A. Islam’s obligation to repay the Loan, on or

about September 19, 2017, the Debtor and A. Islam executed and delivered to Excel an Open-

End Mortgage on the property located at 407-409 W. Main Street, Lansdale, PA 19446 (the

“Main St. Premises”), which mortgage was duly recorded with the Recorder of Deeds of

Montgomery County on September 21, 2017 at Book 14411, Page 00494 et seq. (the

“Mortgage”). A true and correct copy of the Mortgage is attached hereto, incorporated herein

and marked as Exhibit “C”.

         6.        As further security for the Debtor and A. Islam’s obligations under the Note, on or

about September 19, 2017, the Debtor and A. Islam executed and delivered to Excel an

assignment of rents and leases for the Mortgaged Property dated September 19, 2017, which

assignment of rents and leases was duly recorded with the duly recorded with the Recorder of

Deeds of Montgomery County on September 21, 2017, at Book 6062, Page 00699 et seq. (the

“Assignment of Rents and Leases”). A true and correct copy of the Assignment of Rents and

Leases is attached hereto, made a part hereof and marked as Exhibit “D”.

         7.        Excel is also the holder of a judgment against the Debtor and A. Islam entered in

the Court of Common Pleas of Montgomery County at No. 2020-02775, which judgment



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operates as a lien against all real property owned by the Debtor and A. Islam in Montgomery

County at the time of entry of the judgment, as more fully described in Paragraph 11, below.

         8.        The Loan Agreement, Note, Mortgage and all other documents executed and

delivered to Excel in connection with the Loan are sometimes collectively referred to hereinafter

as the “Loan Documents”.

         9.        Prior to the Petition Date, the Debtor and A. Islam defaulted on their obligations

to Excel under the Loan and Loan Documents, as a consequence of, inter alia, the Debtor’s

failure to make the contractual monthly payments under the Loan and upon maturity.

         10.       Had the Loan not been accelerated and payment due and payable in full, the Loan

would have matured on the Maturity Date of September 19, 2020.

         11.       On or about February 7, 2020, judgment was entered in the Court of Common

Pleas of Montgomery County at no. 2020-02775 in favor of Excel and against the Debtor and A.

Islam, jointly and severally, in the amount of $188,518.21, plus interest from January 31, 2020,

at the per diem rate of $61.63.

         12.       The Judgment operates as a lien on all real property owned by the defendants

therein in the county in which the Judgment was entered—including the real property and

improvements thereon located at 404 Doylestown Pike, Montgomeryville, PA (the “Doylestown

Pike Premises”).

         13.       On or about August 3, 2020, execution was issued on the Judgment against both

the Main St. Premises and Doylestown Pike Premises, as Excel elected and as permitted by the

Pennsylvania Rules of Civil Procedure.

         14.       The Main St. Premises and Doylestown Pike Premises were scheduled for

sheriff’s sale on January 27, 2021.



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          15.      A. Islam filed a Chapter 13 Petition on January 26, 2021, the day before the

scheduled sheriff’s sale, at Bankruptcy No. 21-10190-amc (the “Second A. Islam Bankruptcy

Case”).

          16.      A. Islam previously filed a Chapter 13 Petition at Bankruptcy No. 18-13518-amc

(the “First A. Islam Bankruptcy Case”).

          17.      The First A. Islam Bankruptcy case was dismissed by Court Order on October 3,

2018, as a consequence of the debtor’s failure to make plan payments.

          18.      On or about May 18, 2021, Excel filed a Motion for Relief from the Automatic

Stay in the Second A. Islam Bankruptcy Case.

          19.      A. Islam filed a response to Excel’s Motion for Relief from the Automatic Stay,

and the hearing on the Motion for Relief was continued from time to time as the parties

attempted to resolve the Motion or at the court’s direction.

          20.      In an abundance of caution, Excel filed an amended proposed form of Order

granting relief from the co-debtor stay under 11 U.S.C. § 1301(a) (to the extent applicable),

although the loan at issue is a commercial loan and almost undoubtedly not subject that

provision.

          21.      The Debtor was served with the Amended Order and Motion for Relief; however,

she did not file a written response or appear at any of many scheduled hearings.

          22.      On or about March 29, 2022, Excel filed a Certification of No Response by the

Debtor to Excel’s Motion for Relief from Stay in the Second A. Islam Bankruptcy Case.

          23.      No payments were made to Excel on the Loan during the Second A. Islam

Bankruptcy Case.




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         24.       A. Islam and Excel ultimately entered into a Stipulated Order regarding the

Motion for Relief, which Stipulated Order was approved by this Court on March 2, 2022 (the

“Stipulated Order”).

         25.       A. Islam defaulted under the Stipulated Order, and or about March 29, 2022,

Excel filed a Certification of Default.

         26.       A. Islam filed an Objection to Excel’s Certification of Default.

         27.       On or about April 5, 2022, this Court entered an Order Granting Excel Relief

from the Automatic Stay.

         28.       Per the express terms of the Stipulated Order: (a) The relief from the automatic

stay of 11 U.S.C. §362(a) granted hereunder shall extend to any subsequent bankruptcy filed by

the Debtor within one hundred eighty (180) days following any dismissal of the above-captioned

case; and (b) the Stipulated Order shall survive the conversion, dismissal or termination of this

bankruptcy case, and shall be binding upon the Debtor and any Trustee presently acting or

subsequently appointed to this or any subsequent bankruptcy case filed by the Debtor.

         29.       On or about April 14, 2022, A. Islam filed a Motion to Voluntarily Dismiss the

Second A. Islam Bankruptcy Case under 11 U.S.C. §Section 1307(b), and the Second A. Islam

Bankruptcy was dismissed on April 18, 2022.

         30.       The Main St. Premises and the Doylestown Pike Premises were scheduled to be

sold at sheriff’s sale on April 27, 2022, the sheriff’s sale having been postponed from time to

time for over a one-year period during A. Islam’s Second Bankruptcy.

         31.       On April 26, 2022, the Debtor filed her Chapter 13 Petition – one day before the

scheduled sheriff’s sale.




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         32.       As of the Petition Date, the following amounts are due and payable under the

Loan:

                      Itemization of Indebtedness

            Principal Balance                                        $136,140.27
            Interest Due through 4/26/22                              $79,293.13
            Late Fees Due                                              $4,303.75
            Maturity Fee                                               $6,700.51
            Satisfaction Fees                                            $315.00
            Attorneys’ Fees and Costs                                 $67,055.88

            Total:                                                   $293,808.54

            Per Diem Default Rate 16.25%

         33.         The Debtor has not made any post-Petition payments to Excel.

         34.       Post-petition interest and other charges continue to accrue on the Loan.

                 THE RELIEF REQUESTED AND THE REASONS THEREFOR

         35.       In relevant part, § 362(d) of the Bankruptcy Code provides as follows:

                 On request of a party in interest and after notice and a hearing, the court
         shall grant relief from the stay provided under subsection (a) of this section, such
         as by terminating, annulling, modifying, or conditioning such stay (1) including
         the lack of adequate protection of an interest in property of such party in interest;
         (2) with respect to a stay of an act against property under subsection (a) of this
         section, if (A) the debtor does not have an equity in such property; and (B) such
         property is not necessary to an effective reorganization…

         36.       As set forth above, under 11 U.S.C. § 362(d)(1), a creditor may be granted relief

from the automatic stay for cause, including a lack of adequate protection for its interest in the

property. See In re Biltwood Properties LLC, 473 B.R. 70, 74 (Bankr. M.D. Pa. 2012). Relief

also may be granted if the debtor has no equity in the property and the property is not necessary

to an effective reorganization. Id.

         37.       The term “adequate protection” is not defined in the Bankruptcy Code. At a bare

minimum, however, it means that a secured creditor must be given reasonable assurance that the


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value of its secured interest in an item of property is, and will continue to be, protected by the

debtor. In re Cooley, 37 B.R. 590, 592 (Bankr. E.D. Pa. 1984).

         38.       Adequate protection comes in a variety of forms, including periodic payments,

additional replacement liens, and other relief that provides the “indubitable equivalent” to the

protections afforded to the creditor outside of bankruptcy. In re Biltwood, supra.

         39.       The debtor has the burden of proof on the adequate protection issue under

§362(d)(2).

         40.       In the instant case, cause exists for relief from the automatic stay, as the Debtor

has failed to make payment in full of a matured Loan.

         41.       Moreover, the Debtor has failed to make any post-Petition payments on the Loan.

         42.       Further, the Doylestown Pike Premises were sold at tax sale on September 25,

2020, as a consequence of the failure of the Debtor and A. Islam to pay real estate taxes due on

the property.

         43.       The tax upset sale is subject to liens and encumbrances of record, including the

lien of the Judgment in favor of Excel.

         44.       The Debtor no longer has an ownership interest in the Doylestown Pike Premises,

and, accordingly, the Doylestown Pike Premises are not necessary to an effective reorganization

         45.       The Debtor’s conduct and that of A. Islam has been calculated to frustrate Excel’s

enforcement of its rights and remedies under the Loan Documents and the Judgment.

         46.       The Debtor’s Chapter 13 Petition was filed in bad faith.

         47.       The Debtor’s Bankruptcy Petition is designed to circumvent the relief granted in

the Second A. Islam Bankruptcy Case.




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         48.       The Debtor failed to respond to Excel’s Motion for Relief in the A. Islam Second

Bankruptcy, and she should not be given a second “bite at the apple” herein.

         49.       To the extent applicable, this also constitutes a motion for relief from the co-

debtor stay under 11 U.S.C. §1301(a).

                                                  CONCLUSION

         50.       For the foregoing reasons, the entry of an order vacating the automatic stay for the

purposes described herein is in all respects appropriate.

         WHEREFORE, Excel Financial Corp. respectfully requests the entry of an Order

pursuant to 11 U.S.C. §362(d) and Federal Rule of Bankruptcy Procedure 4001(a) allowing

Excel Financial Corp. to exercise its rights and remedies with respect to the Debtor Collateral,

including, but not limited to, the foreclosure and sheriff’s sale of the Debtor Mortgaged Property,

together with such other and further relief as is just and proper.

                                                      Respectfully submitted,


Dated: May 16, 2022
                                                      __________________________________________
                                                      Leona Mogavero, Esquire
                                                      Friedman Schuman, P.C.
                                                      275 Commerce Drive, Suite 210
                                                      Fort Washington, PA 19034
                                                      Telephone: (215) 635-7200
                                                      Facsimile: (215) 635-7212
                                                      LMogavero@fsalaw.com
                                                      Counsel for Excel Financial Corp.




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